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  5
      Attorney(s) for Plaintiff Scanning Technologies Innovations, LLC
  6

  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       SCANNING TECHNOLOGIES                          CASE NO.: 2:21-cv-02620
       INNOVATIONS, LLC,
 11
                          Plaintiff,                  COMPLAINT FOR PATENT
 12                                                   INFRINGEMENT
       v.
 13

 14    NIGHT OUT, INC.,                               JURY TRIAL DEMANDED

 15                       Defendant.
 16

 17
            Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies Innovations,
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 19   LLC (“Plaintiff” or “STI”) files this Original Complaint against Night Out, Inc.
 20
      (“Defendant” or “Night Out”) for infringement of United States Patent No.
 21
      10,600,101 (hereinafter “the ‘101 Patent”).
 22

 23                            PARTIES AND JURISDICTION
 24
            1.     This is an action for patent infringement under Title 35 of the United
 25
      States Code. Plaintiff is seeking injunctive relief as well as damages.
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 27         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT NIGHT OUT, INC.
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  1
      (Federal Question) and 1338(a) (Patents) because this is a civil action for patent

  2   infringement arising under the United States patent statutes.
  3
             3.     Plaintiff is a Texas limited liability company having an address of 1 East
  4

  5   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

  6          4.     On information and belief, Defendant is a California corporation having
  7
      a place of business at 1242 San Miguel Avenue, Santa Barbara, CA 93109. On
  8

  9   information and belief, Defendant may be served through its registered agent, Dusty

 10   Stutsman, of the same address.
 11
             5.     On information and belief, this Court has personal jurisdiction over
 12

 13   Defendant because Defendant has committed, and continues to commit, acts of
 14   infringement in this District, has conducted business in this District, and/or has
 15
      engaged in continuous and systematic activities in this District.
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 17          6.     On information and belief, Defendant’s instrumentalities that are alleged
 18
      herein to infringe were and continue to be used, imported, offered for sale, and/or sold
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      in this District.
 20

 21                                             VENUE
 22
             7.     Venue is proper in this District 28 U.S.C. §1400(b) because Defendant
 23
      is deemed to reside in this District.
 24

 25                              COUNT I
            (INFRINGEMENT OF UNITED STATES PATENT NO. 10,600,101)
 26

 27          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
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            9.       This cause of action arises under the patent laws of the United States

  2   and, in particular, under 35 U.S.C. §§ 271, et seq.
  3
            10.      Plaintiff is the owner by assignment of the ‘101 Patent with sole rights
  4

  5   to enforce the ‘101 Patent and sue infringers.

  6         11.      A copy of the ‘101 Patent, titled “Systems and Methods for Indicating
  7
      the Existence of Accessible Information Pertaining to Articles of Commerce,” is
  8

  9   attached hereto as Exhibit A.

 10         12.      The ‘101 Patent is valid, enforceable, and was duly issued in full
 11
      compliance with Title 35 of the United States Code.
 12

 13         13.      The ‘101 Patent describes systems and methods for downloading a look-
 14   up table from a server database to a mobile device via a communication network.
 15
      ‘101 Patent, Abstract. The look-up table is configured to store a plurality of code
 16

 17   numbers associated with articles of commerce and a plurality of information link
 18
      indicators. Id. Each indicator is associated with a respective code and article of
 19
      commerce, and indicates the existence of a link to information about the article of
 20

 21   commerce. Id.
 22
            14.      The ‘101 Patent recognizes problems associated with prior systems
 23
      including that the mobile devices of prior systems take time to connect to the Internet
 24

 25   in order to access product information. ‘101 Patent, 1:59-67. Also, prior systems
 26
      don’t readily indicate whether there is a link to additional information about the
 27
      product. Id.
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  1
            15.    Thus, the ‘101 Patent recognized a need to allow a consumer to readily

  2   determine whether product information is available for a product having an associated
  3
      product code. ‘101 Patent, 2: 3:11. A further need existed for a mobile device to
  4

  5   allow a consumer offline access to immediately determine whether the product

  6   information was available. Id.
  7
            16.    In certain embodiments, the ‘101 Patent includes a mobile device that is
  8

  9   configured to download a look-up table from a server and store the look-up table in a

 10   local database. ‘101 Patent, 2:35-48. In response to receiving scan information
 11
      regarding a product code, a processing device on the mobile device is configured to
 12

 13   look up the code in the look-up table to determine whether or not a link to information
 14   about the associated product is available. Id.
 15
            17.    The ‘101 Patent solves problems with the art that are rooted in computer
 16

 17   technology and that are associated with inventory management and the retrieval of
 18
      information associated with articles of commerce. The ‘101 Patent claims do not
 19
      merely recite the performance of some business practice known from the pre-Internet
 20

 21   world along with the requirement to perform it on the Internet.
 22
            18.    The improvements of the ‘101 Patent and the features recited in the
 23
      claims in the ‘101 Patent provide improvements to conventional hardware and
 24

 25   software systems and methods. The improvements render the claimed invention of
 26
      the ‘101 Patent non-generic in view of conventional components.
 27
            19.    The improvements of the ‘101 Patent and the features recitations in the
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      claims of the ’101 Patent are not those that would be well-understood, routine or

  2   conventional to one of ordinary skill in the art at the time of the invention.
  3
            20.    Upon information and belief, Defendant has infringed and continues to
  4

  5   infringe one or more claims, including at least Claim 1, of the ‘101 Patent by making,

  6   using, importing, selling, and/or offering for sale an event ticket management system
  7
      covered by one or more claims of the ‘101 Patent. Defendant has infringed and
  8

  9   continues to infringe the ‘101 Patent directly in violation of 35 U.S.C. § 271.

 10         21.    Defendant sells, offers to sell, and/or uses an inventory system including,
 11
      without limitation, the NIGHTOUT online ticket management system, any associated
 12

 13   apps, hardware and/or software, and any similar products (collectively, “Product”),
 14   which infringe at least Claim 1 of the ‘101 Patent.
 15
            22.    The Product provides an application for scanning QR codes to obtain a
 16

 17   decoded link, which contains information about an article of commerce. Among other
 18
      things, the Product provides an event ticket management solution in which a ticket
 19
      can be scanned (e.g., by way of a QR code present on the ticket) to obtain a decoded
 20

 21   link, which contains information about an article of commerce (e.g., to display
 22
      information related to a ticket when the code is scanned). Certain aspects of this
 23
      element are illustrated in the screenshots below and/or those provided in connection
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 25   with other allegations herein.
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 25        23.   The Product includes a mobile device comprising a portable handheld

 26   housing and a communication interface configured to enable the mobile device to
 27
      communicate with a communication network. For example, the Product incorporates
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT NIGHT OUT, INC.
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  1
      a handheld device (e.g., mobile device with Product software) and a communication

  2   interface (i.e., cloud-based communication interface and/or Internet) configured to
  3
      enable the handheld device to communicate with a communication network. Certain
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  5   aspects of this element are illustrated in the screenshots below and/or those provided

  6   in connection with other allegations herein.
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  1
            24.    The Product uses a signal processing device and a visual input device,

  2   the visual input device affixed within the portable handheld housing. For example, a
  3
      visual input device (e.g., camera for scanning barcode) and signal processing device
  4

  5   (i.e., processor of handheld device) are affixed within the portable handheld housing

  6   (e.g., the housing of the mobile device). The mobile device camera is used to scan a
  7
      code and, via the Product’s server, obtain details related to a particular product (e.g.,
  8

  9   details about the ticket and event associated with the ticket). Certain aspects of this

 10   element are illustrated in the screenshots below and/or those provided in connection
 11
      with other allegations herein.
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            25.    The Product comprises digital files associated with the mobile device.
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 27   For example, the Product application has digital files (e.g., code image files, logos,
 28
      and digital product information) associated with the mobile device. Certain aspects of
                                                 8
                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT NIGHT OUT, INC.
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  1
      this element are illustrated in the screenshots below and/or those provided in

  2   connection with other allegations herein.
  3
            26.    The Product also includes a server in communication with the
  4

  5   communication network, the server comprising a server database configured to store

  6   a look-up table that includes at least a plurality of bar codes associated with a plurality
  7
      of articles of commerce. For example, the Product app communicates with a server
  8

  9   through the communication network. The server has a look-up table (i.e., guestlist

 10   which has associated guest details for a particular event). Also, the server database
 11
      contains codes, each having associated information about the guest list. Certain
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 13   aspects of this element are illustrated in the screenshots below and/or those provided
 14   in connection with other allegations herein.
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             27.    The look-up table also stores a plurality of information link indicators,
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  19   each information link indicator associated with a respective bar code and article of
  20   commerce. For example, the look-up table (i.e., remote database accessed by the
  21
       Product app/software) also stores a plurality of information link indicators (e.g., link
  22

  23   indicating scanned product and/or validation of scanned code details associated with
  24
       the product, such as details associated with the ticket and/or the event associated with
  25
       the ticket) indicating information associated with a respective code. Certain aspects
  26

  27   of this element are illustrated in the screenshots below and/or those provided in
  28
       connection with other allegations herein.
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT NIGHT OUT, INC.
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             28.    Each information link indicator is configured as a status signal indicating
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  14
       the existence or absence of a link to information pertaining to a respective article of

  15   commerce, the link being made to the information via the communication network.
  16
       For example, each information link which is obtained by scanning a code indicates a
  17

  18
       status signal indicating the existence or absence of a link to information about a

  19   respective article of commerce (e.g., link indicating validation of scanned QR code
  20
       ticket and details associated with ticket). The information associated with the link is
  21

  22
       retrieved through the communication network. Certain aspects of this element are

  23   illustrated in the screenshots below and/or those provided in connection with other
  24
       allegations herein.
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             29.    The visual input device is configured to scan an image of an article of

   2   commerce, decode the image to obtain a code and forward data from the scanned
   3
       image to the signal processing device. For example, the visual input device (i.e.,
   4

   5   handheld device camera) is configured to scan an image of a code associated with an

   6   article of commerce. After scanning the code, the code is decoded using Product
   7
       software, which may be located on the mobile device, to retrieve information about
   8

   9   the product. The information is forwarded to the signal processing device (i.e.,

  10   processor of mobile device). Certain aspects of this element are illustrated in the
  11
       screenshots below and/or those provided in connection with other allegations herein.
  12

  13         30.    In response to receiving the bar code, the signal processing device (i.e.,
  14   mobile device) is configured to look up the code in the look-up table (i.e., remote
  15
       database) to determine from a respective information link (e.g., link to ticket/event
  16

  17   information) whether or not information pertaining to an article of commerce
  18
       associated with the code (information about the associated ticket/event) may be
  19
       accessed via the communication network.         Certain aspects of this element are
  20

  21   illustrated in the screenshots below and/or those provided in connection with other
  22
       allegations herein.
  23
             31.    Defendant’s actions complained of herein will continue unless
  24

  25   Defendant is enjoined by this court.
  26
             32.    Defendant’s actions complained of herein are causing irreparable harm
  27
       and monetary damage to Plaintiff and will continue to do so unless and until
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                       PLAINTIFF’S COMPLAINT AGAINST DEFENDANT NIGHT OUT, INC.
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   1
       Defendant is enjoined and restrained by this Court.

   2         33.    Plaintiff is in compliance with 35 U.S.C. § 287.
   3
                                       PRAYER FOR RELIEF
   4

   5         WHEREFORE, Plaintiff asks the Court to:

   6         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
   7
       asserted herein;
   8

   9         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,

  10   employees, attorneys, and all persons in active concert or participation with Defendant
  11
       who receive notice of the order from further infringement of United States Patent No.
  12

  13   10,600,101 (or, in the alternative, awarding Plaintiff a running royalty from the time of
  14   judgment going forward);
  15
             (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  16

  17   accordance with 35 U.S.C. § 284;
  18
             (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
  19
             (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
  20

  21   entitled under law or equity.
  22
       Dated: March 25, 2021                  Respectfully submitted,
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  24                                          /s/ Stephen M. Lobbin
  25
                                              Attorney(s) for Plaintiff Scanning
  26                                          Technologies Innovations, LLC
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT NIGHT OUT, INC.
